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, IN THE UNITED STATES DISTRICT C'OURT
FOR THE MIDDLE I)ISTRIC'I` OF PENNSYLVANIA

IVAN WHITE,
Plaintiff, l Civil Action No. l:l6-CV-0675
V. (Judge Mannion)

DARRELL WIREMAN, er al., (Magistrate Judge Carlson)
Defendants z

BRIEF IN SUPPORT OF MOTION FOR LEAVE TO I)EPOSE
PLAINTIFF

STATEMENT OF THE CASE

A. - Identitv of the Parties and Statement of Claim:

Plaintiff is lvan White, an inmate currently incarcerated Within the
Pennsylvania Departrnent of Corrections (DOC) at the State Correctional
Institution (SCI) at Huntingdon. Narned Defendants are Wirernan, Houser,
Klernm, Kephart, Ecl<ard, Duvall, Dunkie, Srnith and D()C. This civil action arose
from Plaintiff’s stay at SCI-Huntingdon.

Counts l through 5 arose from Plaintiff"s dissatisfaction With SCI-
Huntingdon’s attorney-inmate Visitation accommodations on 2 occasions Count 1
alleges a violation of Section 1981. Count 2 alleges a violation of Section 1985.
Count 3 alleges a Violation of Section 1986. These 3.counts along With count 4

and count 5 are related. They raise a right to give evidence, neglect to prevent

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conspiracy, interference With confidential communications and conspiracy claims

against Eckard, Duvall, Dunkle and Smith.

Counts 6 through 9 arose primarily from Plaintiff”s dissatisfaction With how
SCI-Huntingdon handled his Decernber fast. Counts 6 through 9 are related. They
raise a free exercise, establishment clause and conspiracy claims against Wirernan,

Houser, Klernrn, Kephart and Ecl<ard.

Finally, count ll presents a claim against DOC for a violation of RLUIPA

due to the December fast issue.

B. Refevant Procedural Historv:

Pla`mtiff initiated this civil rights action through counsel on April 22, 2016.
DOC Defendants filed their answer With affirmative defenses on April 3, 2018.
Fact discovery is currently scheduled to close Novemher 5, 2018.

C. Statement of Alleged Facts:

Plaintiff alleges on Angust 30, 72014, he and his counsel Were placed in a
non~contact, non-confidential booth When she visited him to discuss his religious
issues Additionally, Plaintiff’ s counsel visited PlaintifiC as a Witness on May 24,
2015 to prepare for a hearing in another case Where the same issue regarding
attorney-inmate visitation accommodations Was to be litigated Again, the

accommodations Were unsatisfactory to Plaintiff.

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Plaintiff alleges his Muslim beliefs require him to fast only in December.
Other Muslirns observe the Rarnadan fast at varying months throughout the years.
Plaintiff claims SCI-Huntingdon accommodates the Ramadan fast but not his
December fast, Plaintiff also takes issue With the labeling of food and the denial of

a post fast feast.

OUESTI()N PRESENTEI)

Should the DOC Defendants be granted leave to depose Plaintiff`?

Suggested Answer: Yes.
ARGUMENT

DOC Defendants should be granted leave to depose Plaintiff.

. Fed.R.Civ.P. 30(a)(2)(B) requires that a party obtain leave of court before
taking the deposition of a person confined in prison. This limitation applies even if
the prisoner is a party to the action. See, Mller v. Blu]j§ 131 F.R.D. 698, 700 (l\/[.D.
Pa. l990)(noting that the inmate plaintiff initiated the lawsuit so “any defendant
surely is entitled to take his deposition in conjunction therewith.”)(citing Kendrick
v. Schnorbus, 655 F.Zd 727, 729 (6th Cir. 1981)). “It is Well established that in
civil cases, utmost liberality, in respect to allowing discovery, should prevail in
favor of each party against the other party.” See, Rorer international Cosmetz`cs,

Ltd. v. Halpem, 85 F.R.D. 43, 45 (E.D. Pa. l979)(citations omitted).

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DOC Defendants respectfully request leave to depose inmate Plaintiff to
fully investigate the remaining claims and prepare their defense AlloWing this
deposition Will provide the Defendants With the opportunity to gain additional
insight into Plaintiff’s claims and to assess his credibility and trustworthiness in the
event that this case proceeds to a trial. Defendants submit that a deposition of
Plaintiff Would aid both the Court and counsel in determining the exact scope of
this action, and ultimately, in resolving this matter in a timely fashion.

Defendant’s counsel must conduct the deposition to properly defend his clients.

CoNCLUsIoN
WHEREFORE, in light of the foregoing, DOC Defendants respectfully
request this Court to grant the Motion for Leave to Depose Plaintiff.
7 Respectfully submittcd,

By: /s/ Vincent R. Mazeski
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Dated: September 26, 2018

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IVAN WHITE,_
Plaintiff, Civil Action No. 1:16~CV-0675
v. (Judge Mannion)

DARRELL WIREMAN, er al. , (l\/lagistrate Judge Carlson)
Defendants :

CERTIFICATE OF SERVICE
1 hereby certify that the Within Brief has been filed electronically and is
available for viewing and downloading from the ECF system by l\/{arianne Sawicki
counsel for 1 Plaintiff and therefore satisfies the service requirements under
Fed.R.Civ.P. 5(1))(2)(E),' L.R. 5. 7.

/s/ Vincent R. Mazesl<i

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